

People v Medina (2025 NY Slip Op 50489(U))



[*1]


People v Medina (Destiny)


2025 NY Slip Op 50489(U)


Decided on March 28, 2025


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on March 28, 2025
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 2d, 11th and 13th JUDICIAL DISTRICTS
PRESENT: : WAVNY TOUSSAINT, P.J., MARINA CORA MUNDY, LISA S. OTTLEY, JJ



2022-749 RI CR

The People of the State of New York, Respondent,
againstDestiny Medina, Appellant. 




Appellate Advocates (Rebekah J. Pazmino of counsel), for appellant.
Richmond County District Attorney (Thomas B. Litsky and Rhys Johnson of counsel), for respondent.

Appeal from a judgment of the Criminal Court of the City of New York, Richmond County (Ann Thompson, J.), rendered August 3, 2022. The judgment convicted defendant, upon a plea of guilty, of assault in the third degree, and imposed sentence. The appeal brings up for review an order of protection issued at the time of sentencing.




ORDERED that upon the appeal from the judgment, the portion of the order of protection that was issued in favor of xxxx xxxxxxxxxxxxx, xxxx xxxx and xxxxxxxx xxxxxxx at the time of sentencing is vacated, as a matter of discretion in the interest of justice; and it is further,
ORDERED that the judgment of conviction is affirmed.
Defendant pleaded guilty to assault in the third degree (Penal Law § 120.00 [1]) in satisfaction of several charges. At sentencing, the Criminal Court (Ann Thompson, J.) issued an order of protection in favor of five individuals. Defendant's sole contention on appeal is that the order of protection was improperly issued in favor of three of those individuals, who were neither victims of, nor witnesses to, the crime to which defendant entered a guilty plea. While such contention is unpreserved for appellate review (see CPL 470.05 [2]; People v Nieves, 2 NY3d 310, 316-318 [2004]), we nevertheless reach the issue in the exercise of our interest of justice jurisdiction (see People v Fletcher, 220 AD3d 805 [2023]; People v Rosales, 198 AD3d 988 [2021]; People v Ortiz, 183 AD3d 918 [2020]; People v Hanniford, 174 AD3d 921 [2019]). As the People correctly concede, the Criminal Court lacked the authority to issue the portion of the order of protection that was in favor of these three individuals (see CPL 530.13 [4]; People v Lebron, 233 AD3d 710 [2024]; People v Campbell, 231 AD3d 1168 [2024]; People v Gonzalez, 217 AD3d 965 [2023]). Accordingly, the portion of the order of protection that was issued in their favor at the time of sentencing is vacated.
TOUSSAINT, P.J. and MUNDY J., concur.
OTTLEY, J., taking no part.
ENTER:Paul KennyChief ClerkDecision Date: March 28, 2025









